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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

In re:                                                      Case No. 15-22109-RAM
         Dell I Gardo

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Nancy K. Neidich, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 07/03/2015.

         2) The plan was confirmed on 06/14/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/09/2017, 09/24/2018.

         5) The case was completed on 07/10/2018.

         6) Number of months from filing to last payment: 36.

         7) Number of months case was pending: 44.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $40,727.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor             $4,051.61
        Less amount refunded to debtor                          $51.29

NET RECEIPTS:                                                                                   $4,000.32


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $2,000.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                       $155.36
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                               $2,155.36

Attorney fees paid and disclosed by debtor:               $1,500.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim       Principal      Int.
Name                              Class    Scheduled      Asserted         Allowed        Paid         Paid
American Express              Unsecured             NA            NA              NA            0.00       0.00
American Express              Unsecured             NA            NA              NA            0.00       0.00
American Express              Unsecured             NA            NA              NA            0.00       0.00
AT&T                          Unsecured       7,468.81            NA              NA            0.00       0.00
AT&T                          Unsecured       1,875.00            NA              NA            0.00       0.00
Bank Of America               Unsecured       7,751.00            NA              NA            0.00       0.00
Bank Of America               Unsecured       7,512.00            NA              NA            0.00       0.00
Bank Of America               Unsecured             NA            NA              NA            0.00       0.00
Bank of America               Unsecured             NA            NA              NA            0.00       0.00
Bank Of America               Unsecured             NA            NA              NA            0.00       0.00
BANK OF AMERICA               Unsecured             NA           0.00        8,426.81        411.93        0.00
Bank Of America               Unsecured             NA            NA              NA            0.00       0.00
BANK OF AMERICA, N.A.         Unsecured             NA            NA              NA            0.00       0.00
BANK OF AMERICA, N.A.         Secured        45,729.00            NA              NA            0.00       0.00
Bk Of Amer                    Unsecured             NA            NA              NA            0.00       0.00
Bk Of Amer                    Unsecured             NA            NA              NA            0.00       0.00
Bk Of Amer                    Unsecured             NA            NA              NA            0.00       0.00
Bk Of Amer                    Unsecured             NA            NA              NA            0.00       0.00
Cap One                       Unsecured             NA            NA              NA            0.00       0.00
Cap1/berpl                    Unsecured             NA            NA              NA            0.00       0.00
Cap1/biglt                    Unsecured             NA            NA              NA            0.00       0.00
Cap1/biglt                    Unsecured          526.00           NA              NA            0.00       0.00
Cap1/bstby                    Unsecured             NA            NA              NA            0.00       0.00
Cap1/bstby                    Unsecured             NA            NA              NA            0.00       0.00
Cap1/ofmax                    Unsecured             NA            NA              NA            0.00       0.00
Capital 1 Bank                Unsecured             NA            NA              NA            0.00       0.00
Capital 1 Bank                Unsecured             NA            NA              NA            0.00       0.00
CAPITAL ONE BANK              Unsecured          644.00          0.00          911.62          44.57       0.00
CAPITAL ONE BANK              Unsecured       1,450.00           0.00        1,476.97          72.20       0.00
CAPITAL ONE BANK              Unsecured          396.00          0.00          514.14          25.14       0.00
Chase                         Unsecured             NA            NA              NA            0.00       0.00



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Scheduled Creditors:
Creditor                                             Claim         Claim         Claim       Principal      Int.
Name                                      Class    Scheduled      Asserted      Allowed        Paid         Paid
Chase                                 Unsecured             NA            NA           NA            0.00       0.00
Chase                                 Unsecured             NA            NA           NA            0.00       0.00
Chase                                 Unsecured             NA            NA           NA            0.00       0.00
Chase                                 Unsecured             NA            NA           NA            0.00       0.00
Chase                                 Unsecured       1,144.81            NA           NA            0.00       0.00
Chase - Cc                            Unsecured             NA            NA           NA            0.00       0.00
Chase Bank                            Unsecured             NA            NA           NA            0.00       0.00
Chase- Bp                             Unsecured             NA            NA           NA            0.00       0.00
Chase- Bp                             Unsecured             NA            NA           NA            0.00       0.00
Chase Mht Bk                          Unsecured             NA            NA           NA            0.00       0.00
Chase Na                              Unsecured             NA            NA           NA            0.00       0.00
Chevron Texaco/ Citicorp              Unsecured             NA            NA           NA            0.00       0.00
Citgo Oil / Citibank                  Unsecured             NA            NA           NA            0.00       0.00
Citibank Sd, Na                       Unsecured             NA            NA           NA            0.00       0.00
Citibank Usa                          Unsecured       2,948.00            NA           NA            0.00       0.00
Citibank Usa                          Unsecured       2,229.00            NA           NA            0.00       0.00
Citi-bp Oil                           Unsecured             NA            NA           NA            0.00       0.00
Comenitybank/marathon                 Unsecured           86.00           NA           NA            0.00       0.00
CREDIT FIRST                          Unsecured          348.00           NA           NA            0.00       0.00
CREDIT FIRST                          Unsecured             NA           0.00       490.43          23.98       0.00
DISCOVER BANK                         Unsecured          628.00          0.00       890.24          43.52       0.00
DISCOVER BANK                         Unsecured       3,529.00           0.00     4,022.34        196.63        0.00
DSNB                                  Unsecured          342.00          0.00       424.35          20.75       0.00
DSRM National Bank/Diamond Shamrock   Unsecured          144.00           NA           NA            0.00       0.00
ECAST SETTLEMENT CORP                 Unsecured             NA           0.00     1,993.34          97.44       0.00
ECAST SETTLEMENT CORP                 Unsecured             NA           0.00     7,468.81        365.10        0.00
Exxmblciti                            Unsecured           30.00           NA           NA            0.00       0.00
FEDERAL NATIONAL MTG ASSOC            Secured        64,454.00            NA           NA            0.00       0.00
GECRB / HH Gregg                      Unsecured             NA            NA           NA            0.00       0.00
GECRB/ Dillards                       Unsecured             NA            NA           NA            0.00       0.00
GECRB/ Dillards                       Unsecured             NA            NA           NA            0.00       0.00
GECRB/ HH Gregg                       Unsecured             NA            NA           NA            0.00       0.00
GECRB/Chevron                         Unsecured          123.00           NA           NA            0.00       0.00
GECRB/GE Money                        Unsecured       1,322.00            NA           NA            0.00       0.00
GECRB/GE Money                        Unsecured             NA            NA           NA            0.00       0.00
GECRB/JC Penny                        Unsecured             NA            NA           NA            0.00       0.00
GECRB/JC Penny                        Unsecured             NA            NA           NA            0.00       0.00
GECRB/JC Penny                        Unsecured             NA            NA           NA            0.00       0.00
GECRB/Lowes                           Unsecured       1,457.00            NA           NA            0.00       0.00
GECRB/Lowes                           Unsecured             NA            NA           NA            0.00       0.00
Gemb/walmart                          Unsecured       1,828.00            NA           NA            0.00       0.00
Gemb/walmart                          Unsecured             NA            NA           NA            0.00       0.00
Hsbc/kmart                            Unsecured             NA            NA           NA            0.00       0.00
Iunv/cbsd                             Unsecured             NA            NA           NA            0.00       0.00
Lord&taylor                           Unsecured             NA            NA           NA            0.00       0.00
MACYS/FDSB                            Unsecured             NA            NA           NA            0.00       0.00
Marathon Ash                          Unsecured             NA            NA           NA            0.00       0.00
MIDLAND FUNDING LLC                   Unsecured             NA           0.00     2,091.97        102.27        0.00
MIDLAND FUNDING LLC                   Unsecured             NA           0.00     2,086.89        102.01        0.00
Morning Side Association              Secured               NA            NA           NA            0.00       0.00
Odpt/cbsd                             Unsecured             NA            NA           NA            0.00       0.00
QUANTUM3 GROUP                        Unsecured             NA           0.00     1,693.08          82.76       0.00
Sears/cbna                            Unsecured       1,641.00            NA           NA            0.00       0.00
Sears/cbna                            Unsecured             NA            NA           NA            0.00       0.00
Sears/cbna                            Unsecured             NA            NA           NA            0.00       0.00
Shell Oil / Citibank                  Unsecured          190.00           NA           NA            0.00       0.00
State Farm Financial S                Unsecured             NA            NA           NA            0.00       0.00
Stpc/cbsd                             Unsecured             NA            NA           NA            0.00       0.00
Syncb/brandsmart                      Unsecured           35.00           NA           NA            0.00       0.00
Syncb/brmart                          Unsecured             NA            NA           NA            0.00       0.00


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Scheduled Creditors:
Creditor                                    Claim         Claim         Claim        Principal       Int.
Name                            Class     Scheduled      Asserted      Allowed         Paid          Paid
Syncb/brmart                 Unsecured             NA            NA           NA             0.00        0.00
Syncb/home Design            Unsecured             NA            NA           NA             0.00        0.00
Syncb/Lord & Tay             Unsecured             NA            NA           NA             0.00        0.00
Syncb/lurias                 Unsecured             NA            NA           NA             0.00        0.00
Syncb/Mervyns                Unsecured             NA            NA           NA             0.00        0.00
Target N.b.                  Unsecured             NA            NA           NA             0.00        0.00
Target N.b.                  Unsecured       1,243.64            NA           NA             0.00        0.00
TD BANK USA, NA              Unsecured             NA           0.00     1,243.04           60.77        0.00
Td Bank Usa/Targetcred       Unsecured          981.00           NA           NA             0.00        0.00
Texaco / Citibank            Unsecured             NA            NA           NA             0.00        0.00
Tires Plus                   Unsecured          481.91           NA           NA             0.00        0.00
Tnb - Target                 Unsecured             NA            NA           NA             0.00        0.00
TRIBUTE                      Unsecured             NA            NA           NA             0.00        0.00
Unvl/citi                    Unsecured       7,221.00            NA           NA             0.00        0.00
Unvl/citi                    Unsecured       1,731.00            NA           NA             0.00        0.00
VISA DEPT. STORES            Unsecured             NA            NA           NA             0.00        0.00
WELLS FARGO BANK             Unsecured       3,579.00            NA           NA             0.00        0.00
WELLS FARGO BANK             Unsecured             NA           0.00     4,007.22         195.89         0.00


Summary of Disbursements to Creditors:
                                                           Claim           Principal                Interest
                                                         Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                     $0.00                 $0.00               $0.00
      Mortgage Arrearage                                   $0.00                 $0.00               $0.00
      Debt Secured by Vehicle                              $0.00                 $0.00               $0.00
      All Other Secured                                    $0.00                 $0.00               $0.00
TOTAL SECURED:                                             $0.00                 $0.00               $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                          $0.00                 $0.00               $0.00
       Domestic Support Ongoing                            $0.00                 $0.00               $0.00
       All Other Priority                                  $0.00                 $0.00               $0.00
TOTAL PRIORITY:                                            $0.00                 $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                          $37,741.25           $1,844.96                  $0.00


Disbursements:

         Expenses of Administration                         $2,155.36
         Disbursements to Creditors                         $1,844.96

TOTAL DISBURSEMENTS :                                                                        $4,000.32



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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/20/2019                             By:/s/ Nancy K. Neidich
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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